









Affirmed and Memorandum Opinion filed February 12, 2004









Affirmed and Memorandum Opinion filed February 12,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00746-CR

____________

&nbsp;

WALTER CLYDE POYDRAS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 208th District
Court

Harris County, Texas

Trial Court Cause No.
894,038

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a plea of guilty to the offense of
aggravated sexual assault of a child.&nbsp; On
July 12, 2002, the trial court sentenced appellant to confinement for 5 years
in the Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a
professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.&nbsp; See High v.
State, 573 S.W.2d 807 (Tex. Crim.
App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed February 12, 2004.

Panel consists of Justices Fowler,
Edelman, and Seymore. 

Do Not Publish C Tex. R.
App. P. 47.2(b).





